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UNITEI) sTATEs DISTRICT CouRT -- ‘*’
wEsTERN DISTRICT or TENNESSEE
Eastern Division

UNITE[) STATES OF Al\/IERICA

 

-v- Case No. l:05cr10056-003T

CHRiSTY WILLIAMS

 

ORDER SETT|NG
COND|T|ONS OF RELEASE

IT lS ORDERED that the release of the defendant is subject to the following conditions and provisions:

tl) Thc defendant shall not commit any offense in violation of federal, state or local law while on release in this
case.
(2) The defendant shall immediately advise the court, Pretrial Services Office, Probation Office, defense counsel

and the U.S. Attorney in writing of any change in address and telephone number.
t3) The defendant shall appear at all proceedings as required and shall surrender for service of any sentence

imposed as directed The defendant shall next appear for Arraignment in the United States Courthouse and
Federal Building in Courtrooin Courtroom # on Day, Date, at Time.

ADD|T|ONAL COND|T|ONS OF RELEASE

in order reasonably to assure the appearance of the defendant and the safety of other persons and the
community, it is FURTHER ORDERED that the release of the defendant is subject to the conditions marked below:

0 The defendant is released on personal recognizance
Secured Financial Conditions

0 report as directed by the Pretrial Services Office.

o Refrain from any use or unlawful possession cfa narcotic drug or other controlled substances in 21 U.S.C. §
802, unless with prior written approval of the Pretrial Services Officer or as may be lawfully prescribed in
writing by a licensed medical practitioner.

0 Submit to any method of testing required by the Pretrial Services office or the supervising officer for
determining whether the defendant is using a prohibited substance Such methods may be used with random
frequency and include urine testing, the wearing of a sweat patch, a remote alcohol testing system, and/or any

form of prohibited substance screening or testingl

0 Participate in a program ofinpatient or outpatient substance abuse testing, education or treatment if deemed
advisable by Pretrial Services and pay a percentage ofthe fee as determined by Pretrial Services.

7 w k This document entered on the docket shg?t co pllanc
AO 199!\ Order Setting Condiuons of Release ' With Hu|e 55 and/or 32(b) FHC{P On ad 0 S {

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ADV|CE OF PENALT|ES AND SANCT|ONS

TO THE DEFENDANT:

YOU ARE ADV|SED OF THE FOLLOW|NG PENALT|ES AND SANCT|ONS:

A violation of any of the foregoing conditions ofrelease may result in the immediate issuance ofa warrant for
your arrest, a revocation of relea.se, an order of detention, and a prosecution for contempt ofcourt and could result in
a term of imprisonment, a ftne, or both.

The commission of a Federal offense while on pretrial release may result in an additional sentence to a tenn
of imprisonment of not more than ten years, if the offense is a felony; or a term of imprisonment of not more than one
year, if the offense is a misdemeanor. This sentence shall be in addition to any other sentence.

Federal law makes it a crime punishable by up to ten years of imprisonment, and a 3250,()0() fine or both to
obstruct a criminal investigation lt is a crime punishable by up to ten years of imprisonment, and a 3250,000 fine or
both to tamper with a witness, victim or infonnant; to retaliate or attempt to retaliate against a witness, victim or
infonnant; or to intimidate or attempt to intimidate a witness, victim, juror, informant or officer of the court The
penalties for tampering retaiiation, or intimidation arc significantly more serious if they involve a killing or attempted
killing

lf after release, you knowingly fail to appear as required by the conditions of release, or to surrender for the
service of sentence, you may be prosecuted for failing to appear or surrender and additional punishment may be
imposed. If you are convicted of:

{l) an offense punishable by death, life imprisonment1 or imprisonment for a term of fifteen years or more, you
shall be fined not more than $250,000 or imprisoned for not more than ten years, or both;

(2) an offense punishable by imprisonment for a tenn of five years or more, but less than fifteen years, you shall
be fined not more than $250,000 or imprisoned not more than five years, or botli;

(3) any other felony, you shall be fined not more than 3250,0{)0 or imprisoned not more than two years1 or both;

(4) a misdemeanor, you shall be fined not more than $100,000 or imprisoned not more than one year, or both.

A term of imprisonment imposed for failure to appear or surrender shall be in addition to the sentence for any
other offense ln addition, a failure to appear may result in the forfeiture of any bond posted

ACKNOWLEDGMENT OF DEFENDANT

l acknowledge that l am the defendant in this case and that I am aware ofthe conditions ofrelease. l promise
to obey all conditions ofrelease, to appear as directed, and to surrlender for service of any sentence imposed lam aware

of the penalties and sanctions set forth above. _ f _

Signatui{e of Defendant

   

Christy Williams

AO 199A Order Selting Condltions of Re\ease -2-

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D|RECTIONS TO THE UN|TED STATES NiARSHAL

E The defendant is ORDERED released after processing

ij The United States marshal is ORDERED to keep the defendant in custody until notified by the Clerk or
ludicial Officer that the defendant has posted bond and/or complied with all other conditions for release The
defendant shall be produced before the appropriate judicial officer at the time and place specified, if still in
custody.

,____
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S. THOMAS ANDERSON
UNITED STATES MAGTSTRATE JUDGE

 

AO 199A Orc|er Settlng Coriditions of Release -3'

DISTRIC COURT - WESTERN D"T'CT 0 TESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number ll in
case 1:05-CR-10056 was distributed by faX, mail, or direct printing on
July 27, 2005 to the parties listed.

 

 

M. Dianne Smothers

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J ames W. Powell

U.S. ATTORNEY'S OFFICE
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Ste. 300

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Honorable J ames Todd
US DISTRICT COURT

